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                   IN THE UNITED STATES DISTRICT
            COURT FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION
 TRACI PAYNE-WARREN ON         §
 BEHALF OF THE ESTATE OF       §
 JAMES R. PAYNE, DARRYL        §
 PAYNE AND JAMES R. PAYNE, JR. §
                               §
 Plaintiff,                    §     CIVIL ACTION NO. 3:23-cv-00010
                               §
 VS.                           §
                               §
 PHH MORTGAGE CORPORATION §

 Defendants.


                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Traci

Payne-Warren, on behalf of the Estate of James R. Payne, Darryl Payne, and James R. Payne Jr.,

and Defendant PHH Mortgage Corporation (collectively, “the Parties”) file this Joint Stipulation

of Dismissal.

       1.       This case arises out of the attempted foreclosure by trustee sale of the property at

322 4th St. N. Texas City, 77590, Galveston County Texas. The subject property now been

refinanced and the dispute between the Parties is resolved. The Plaintiffs therefore, no longer seek

to pursue this action.

       2.       The Plaintiffs and Defendant therefore file this JOINT STIPULATION OF

DISMISSAL so this suit may be dismissed and removed from the Court’s docket.




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                        Respectfully submitted,

                        MEDEARIS LAW FIRM, PLLC

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                        TRACI PAYNE-WARREN ON BEHALF OF THE ESTATE
                        OF JAMES R. PAYNE, DARRYL PAYNE AND JAMES R.
                        PAYNE, JR.

                        and

                        MCGLINCHEY STAFFORD, PLLC

                        By: /s/ Thomas W. White, Jr. (signed by permission)
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this March 8, 2023, a true and correct copy of the foregoing

Joint Stipulation of Dismissal was served via electronic service and/ or facsimile and first-

class mail and/ or certified mail to all counsel of record.



                                                  /s/ David Medearis
                                                  DAVID M. MEDEARIS




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